Case 23-11160-MFW   Doc 17-4   Filed 08/21/23   Page 1 of 2




                      Exhibit D
                BMA Press Release
PUBLIC                Case 23-11160-MFW           Doc 17-4     Filed 08/21/23     Page 2 of 2




         18 August 2023


                                                    NOTICE
            The Bermuda Monetary Authority and White Rock Bermuda
          Jointly Agree to Take Action to Address Alleged Fraud at Vesttoo

         HAMILTON, BERMUDA – The Bermuda Monetary Authority (Authority or BMA) and White
         Rock Insurance (SAC) Ltd. (White Rock Bermuda) today jointly agreed to a course of action in
         the Supreme Court of Bermuda that will focus on pursuing maximum recovery for the
         (re)insureds impacted by the alleged fraud involving Vesttoo related segregated accounts
         (Vesttoo Cells). Both parties have agreed for the Bermuda Supreme Court to appoint Charles
         Thresh and Michael Morrison of Teneo (Bermuda) Limited to act as Joint Provisional
         Liquidators (JPLs) for White Rock Bermuda with respect to the impacted Vesttoo Cells. The
         JPLs and the Board of Directors and management of White Rock Bermuda will bring their
         resources together to address the matter.

         This action applies only to the impacted Vesttoo Cells. White Rock Bermuda continues to
         operate in the ordinary course of business, and this action has no effect on any other cells or
         White Rock Bermuda clients.




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